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                            SO U TH ER N DISTRIC T O F FLO RID A

                                CaseNo.10-20763-CR-LENARD(s)
                                       21U.S.C.j963
                                       21U.S.C.j853
  UNITED STATES O F AM ERICA
  VS.


  HENRY DE JESUSLOPEZ LONDONO,
         a/lt/a d$M iSangre,''
         a/k/a Gsalvador,''
         a/lt/a çic arlos M arior''
         a/k/a RBrother,''
         a/k/a islfrackin,''
         a/k/a RFederico,M
  JH O N FER N AN D O G IR ALD O U SU G A ,
         a/k/a dssim on,''
         a/k/a GR evenlino,''
  AR LEY U SUG A TO R R ES,
         a/k/a :*07 ''
         a/k/a çisiete,''
         a/k/a çésam uely''
  JosE CARLOSLONDONO ROBLEDO,
        a/k/a dçTito ''
        a/k/a çéW olverine,''
  CARLOSANTONIO M ORENO TUBERQUIA,
       a/k/a RN icholas,''
  EDISO N G O M EZ M O L IN A ,
       a/lt/a <tElD octor,''
       and
  JUAN DIEGO GIM LDO USUGA,
       a/k/a EiM enory''
       a/k/a içc am ilo,''


                  M O TIO N TO UN SEAL SUPERSEDIN G IN D IC TM EN T

        COM ES NO W ,THE UNITED STATESO FAM ERICA , Y andthroughtheundersigned

 AssistantUnited StatesAttorney,and hereby filesthismotion to unsealthelndictm entasfollows:

        1.     On February 10,2012,pursuantto arequestby the undersigned, the above styled
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  cause w as ordered sealed in orderto locate and arrestthe defendants.

                O n M ay 14,2012,tw o ofthe defendantsw ere arrested and are now in custody.

         Therefore,the United StatesrespectfullyrequeststhatthisCourtenteran Orderunsealingthe

  SupersedingIndictm entinthe above styled cause.

                                                      Respectfully subm itted,

                                                      W IFRED O A .FER RER
                                                      UN ITED STA TES A TTO RN E

                                                By:      s/Andrea G .H offm an
                                                      AN D REA G .H OFFM A
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